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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20551

 ADELFO PAMATMAT (D-18),

               Defendant.
                                                    /

  OPINION AND ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S MOTION
        TO SEVER CO-DEFENDANTS AND ALTERNATIVE MOTION FOR
            DISCLOSURE OF STATEMENTS OF CO-DEFENDANTS

        On March 9, 2015, Defendant Adelfo Pamatmat filed a motion to sever or, in the

 alternative, for disclosure of statements of co-defendants. (Dkt. # 990, Pg. ID 4601.)

 Pamatmat’s motion centers on post-arrest statements made by Pamatmat and several

 of his co-defendants. The government has disclosed each of these statements to

 counsel for the defendant who made the statement, but not to counsel for the other

 defendants. (Dkt. # 1014, Pg. ID 4994.) Pamatmat argues that Bruton v. United States,

 391 U.S. 123 (1968) would be implicated if the government were to introduce

 Pamatmat’s co-defendants’ post-arrest statements at trial, and, therefore, the court

 should either sever Pamatmat from his co-defendants or order the government to

 disclose the co-defendants’ post-arrest statements that it intends to use at trial. (Dkt. #

 990, Pg. ID 4604.) This matter is fully briefed, and no hearing is needed. See E.D.

 Mich. LR 7.1(f)(2). For the reasons stated on the record at the April 8, 2015 hearing on
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 Pamatmat’s Motion to Suppress (Dkt. # 909) and for the reasons stated below, the

 motion will be denied without prejudice.

        Under the Bruton doctrine, “the Confrontation Clause is violated by the

 introduction of an incriminating out-of-court statement by a non-testifying co-defendant,

 even if the court gives a limiting instruction that the jury may consider the statement only

 against the co-defendant.” United States v. Ford, 761 F.3d 641, 652 (6th Cir. 2014)

 (citing Bruton, 391 U.S. at 136-37); see also United States v. Cope, 312 F.3d 757, 780

 (6th Cir. 2002) (“An accused is deprived of his rights under the Confrontation Clause

 when the confession of a nontestifying codefendant that implicates the accused is

 introduced into evidence at their joint trial.”). “[W]here a Bruton situation exists, the

 court may protect the non-confessing defendant’s Sixth Amendment rights by 1)

 exclusion of the confession, 2) severance of the trial, or 3) redaction of the confession to

 avoid mention or obvious implication of the non-confessing defendant.” Stanford v.

 Parker, 266 F.3d 442, 456 (6th Cir. 2001).

        In its response to Pamatmat’s motion, the government stated that it “will disclose

 the post-arrest statements of each defendant to his or her co-defendants after the final

 pretrial passes, if they choose not to enter a guilty plea . . . . If there are post-arrest

 statements that incriminate co-defendants at trial, the problem may be avoided by

 redacting the statement.” (Dkt. # 1014, Pg. ID 4995.) Pamatmat’s concerns about his

 co-defendants’ post-arrest statements may be alleviated by the government’s disclosure

 of the statements and potential redactions of those statements. Accordingly, severance

 at this time is unnecessary. Pamatmat may renew his motion if his Bruton concerns



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 persist after the government has disclosed the statements at issue and the parties have

 discussed redactions of those statements.

           IT IS ORDERED that Defendant’s Motion to Sever Co-Defendants and

 Alternative Motion for Disclosure of Statements of Co-Defendants (Dkt. # 990) is

 DENIED WITHOUT PREJUDICE.

                                                               s/ Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE

 Dated: April 10, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, April 10, 2015, by electronic and/or ordinary mail.

                                                                S/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




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